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                       IN THE UNITED STATES DISTRICT COURT
                            FOR DISTRICT OF MINNESOTA

KENNETH GEHRKE,                                 )
                                                )
                                                )       Civil Action No._______________
                         Plaintiff,             )
                                                )
                                                )   PLAINTIFF’S ORIGINAL COMPLAINT
v.                                              )          (Jury Trial Demanded)
                                                )
FLEET FARM LLC (f/k/a MILLS FLEET               )
FARM) and ONWARD                                )
MANUFACTURING COMPANY, LTD.                     )
                                                )
                    Defendants.                 )
___________________________________)

       Plaintiff, Kenneth Gehrke, files his Original Complaint and jury demand against

Defendants, Fleet Farm LLC and Onward Manufacturing Company, Ltd., and for his causes-of-

action respectfully shows this Court as follows:

                                              I.
                                           PARTIES

       1.      Plaintiff, Kenneth Gehrke, is a resident of Isanti, Isanti County, State of

Minnesota.

       2.      Defendant Fleet Farm LLC (f/k/a Mills Fleet Farm) (“Fleet Farm”) is a domestic

corporation that is organized and maintains its principal place of business in a state other than

Minnesota. Fleet Farm maintains its principal place of business at 2401 S. Memorial Dr.,

Appleton, WI 54915. Fleet Farm may be served with process by serving its Registered Agent for

service, CT Corporation System, 1010 Dale St. N., St. Paul, MN 55117-5603.

       3.      Defendant Onward Manufacturing Company, Ltd (“Onward”) is an entity

organized under the laws of Canada, with its principal place of business located at 585 Kumpf

Drive, Waterloo, Ontario, Canada N2V 1K3. At all times material hereto, Defendant Onward

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has been transacting business in developing, designing, manufacturing, marketing, distributing,

and selling grilling products and supplies, including the Grill Pro Grill Brush made the basis of

this lawsuit. At all times material hereto, Onward has engaged in business in the District of

Minnesota. Onward may be served with process via the Hague Convention on the Service

Abroad of Judicial and Extrajudicial Documents in Civil or Commercial Matters, 1965 U.S.T.

361, 658 U.N.T.S. 163 (1965). Onward may be served with process at 585 Kumpf Drive,

Waterloo, Ontario, Canada N2V 1K3.

                                              II.
                                     JURISDICTION & VENUE

       4.      At all times relevant to the causes-of-action asserted herein, the non-resident

Defendants have had continuing and systematic contact with the state of Minnesota by delivering

their products into the stream-of-commerce with the expectation that the products would reach

consumers within the state of Minnesota. Further, Defendants have had minimum contacts with

the state of Minnesota and are doing business in the state of Minnesota, by, among other things:

entering into contracts, by mail or otherwise, with residents of the state of Minnesota; contracting

for performance in the state of Minnesota; recruiting Minnesota residents for employment inside

and/or outside the state; and committing torts in the state of Minnesota. The causes-of-action

asserted herein arise from such contact and business.

       5.      Products manufactured, marketed, and/or distributed by Defendants are routinely

sold in the District of Minnesota.

       6.      Defendants purposefully market and sell their products in the state of Minnesota

for the purpose of deriving profit and have in fact derived profits from the sale of products in the

state of Minnesota.



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       7.      Defendants plan to continue selling their products in the future in the state of

Minnesota.

       8.      Defendants’ liability in this case arises from or is related to the sale and

distribution of products in the state of Minnesota.

       9.      Accordingly, Defendants have purposefully availed themselves of the privileges

and benefits of placing their products into the stream of commerce in the state of Minnesota and

thereby conduct business in the state of Minnesota.

       10.     The Court’s exercise of personal jurisdiction over Defendants comports with due

process.

       11.     At all times material to this incident, the Defendants were and are doing business

in and throughout the state of Minnesota.

       12.     The events that make the basis of this action occurred in the state of Minnesota.

       13.     The Defendants conduct business and sell their products in and throughout the

state of Minnesota.

       14.     Venue in this case is proper in the Minnesota by virtue of Title 28 U.S.C. §

1391(2) and/or (3). As a business entity, each Defendants is deemed to reside in any judicial

district in which they are subject to personal jurisdiction at the time the action is commenced. 28

U.S.C. 1391 (c). Therefore, Defendants are subject to personal jurisdiction in Minnesota and for

venue purposes are deemed to reside in Minnesota.

       15.     The court has jurisdiction pursuant to 28 U.S.C. §1332 because of complete

diversity of citizenship of the parties and because the amount in controversy exceeds Seventy-

Five Thousand Dollars ($75,000).




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                                            III.
                                   FACTUAL BACKGROUND

       16.     On or about May 1, 2018, Plaintiff, Kenneth Gehrke, inadvertently and

unknowingly ingested a wire bristle from a Grill Pro Grill Brush after grilling food.

       17.     The Grill Pro Grill Brush was designed, manufactured, marketed, distributed,

and/or sold by the Defendants.

       18.     As a producing and proximate cause of the product defects described herein,

Plaintiff Kenneth Gehrke inadvertently and unknowingly ingesting the wire bristle from the Grill

Pro Grill Brush and sustained serious and permanent injuries including, but not limited to, filling

his abdomen with infection.

                                               IV.
                                  FIRST CAUSE -OF-ACTION
                                        (Strict Liability)

       19.     Plaintiff hereby incorporates by reference all of the allegations in the preceding

paragraphs as if fully set forth herein.

       20.     At all times relevant herein, Defendants were and are manufacturers, sellers,

and/or distributors of the Grill Pro Grill Brush.

       21.     The Grill Pro Grill Brush at issue in this action was designed, constructed,

marketed, distributed, and/or sold by and through the agents and/or representatives of the

Defendants.

       22.     Defendants were regularly engaged in the business of supplying or placing

products, like the Grill Pro Grill Brush in question, into the stream-of-commerce for use by the

consuming public, including the Plaintiff.

       23.     Plaintiff’s injuries occurred because the Grill Pro Grill Brush was developed,

designed, manufactured, and sold by Defendants in a defective condition unreasonably

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dangerous to the Plaintiff.

        24.     The Defendants designed, manufactured, and/or sold the Grill Pro Grill Brush in a

defective and unreasonably dangerous condition.

        25.     At the time the Grill Pro Grill Brush in question was placed into the stream of

commerce, it was, or should have been, reasonably expected and foreseeable to the Defendants

that the Grill Pro Grill Brush in question would be used by a person such as Plaintiff in the

manner and application in which it was being used at the time of the incident made the basis of

this lawsuit.

        26.     With respect to the design of the Grill Pro Grill Brush in question, at the time it

left the control of Defendants, there were safer alternative designs. Specifically, there were

alternative designs that, in reasonable probability, would have prevented or significantly reduced

the risk of injury to Plaintiff. Furthermore, such safer alternative designs were economically and

technologically feasible at the time the product left the control of the Defendants by the

application of existing or reasonably achievable scientific knowledge.

        27.     At the time the Grill Pro Grill Brush in question left control of Defendants, it was

defective and unreasonably dangerous in that it was not adequately designed or marketed to

minimize the risk of injury. By way of example and without limitation, the product in question

was unreasonably and dangerously defective in the following ways:

        a.      the Grill Pro Grill Brush in question was unreasonably, dangerously, and
                defectively designed in that it was designed with wire bristles that can separate
                from the brush itself during intended uses and be ingested by and cause serious
                injury to the user thus making the grill brush unreasonably, dangerously, and
                defectively designed for its intended and reasonably foreseeable uses;

        b.      the Grill Pro Grill Brush in question was unreasonably, dangerously, and
                defectively designed in that it was not designed with a mechanism that could
                prevent the wire bristles from separating from the brush itself during intended
                uses and being ingested by and causing serious injury to the user, thus making the

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               grill brush unreasonably, dangerously, and defectively designed for its intended
               and reasonably foreseeable uses;

       c.      the Grill Pro Grill Brush in question was unreasonably, dangerously, and
               defectively designed in that it was not properly designed to eliminate the risk and
               dangers associated with the wire bristles separating from the brush itself during
               intended uses and being ingested by and causing serious injury to the user, thus
               making the grill brush unreasonably, dangerously, and defectively designed for its
               intended and reasonably foreseeable uses;

       d.      the Grill Pro Grill Brush in question was unreasonably, dangerously, and
               defectively designed in that did not contain adequate instructions or warnings on
               the proper and safe use of the grill brush, thus making the grill brush
               unreasonable, dangerous, and defective for its intended and reasonably
               foreseeable uses; and

       e.      the Grill Pro Grill Brush in question was unreasonable, dangerous, and defective
               in that it failed to warn of the risk, nature, and extent of danger associated with the
               wire bristles separating from the brush itself during intended uses and being
               ingested by and causing serious injury to the user, thus making the grill brush
               unreasonable, dangerous, and defective. Further, the warnings and instructions
               provided, if any, were not in a form that could reasonably be expected to catch the
               attention of the reasonably prudent person when engaged in reasonably
               foreseeable uses.

       28.     At the time of Plaintiff’s injuries, the Grill Pro Grill Brush in question was in

substantially the same condition as it was when it was designed, manufactured, distributed, and

sold by Defendants.

       29.     The above unreasonably dangerous defects in the Grill Pro Grill Brush in question

were the proximate and producing causes of Plaintiff’s serious and permanent injuries and

damages.

                                               V.
                                 SECOND CAUSE OF ACTION
                                (Negligence and Gross Negligence)

       30.     Plaintiff hereby incorporates by reference all of the allegations in the preceding

paragraphs as if fully set forth herein.



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       31.     The Defendants have a duty to manufacture, distribute, and sell products that are

not defective and unreasonably dangerous. Defendants acting by and through their agents and/or

representatives breached this duty and were thereby negligent and grossly negligent in designing,

manufacturing, marketing, distributing, and selling the Grill Pro Grill Brush in question with the

defects identified above.

       32.     The injuries and damages sustained by Plaintiff are the direct and proximate result

of the negligence, carelessness, recklessness, and wanton conduct of the Defendants in the

following particulars:

       a.      failing to exercise reasonable care in designing, researching, manufacturing,
               marketing, supplying, promoting, selling, testing, quality assurance, quality
               control, and/or distribution of the Grill Pro Grill Brush so as to eliminate or
               reduce the risks and danger associated with wire bristles separating from the brush
               itself during intended uses and being ingested by and causing serious injury to the
               user;

       b.      designing, building, distributing, and selling the grill brush in question when they
               knew, or should have known, that the wire bristles can separate from the brush
               itself during intended uses and be ingested by users resulting in serious injury;

       c.      negligently designing, assembling, and producing the Grill Pro Grill Brush in a
               manner that poses a serious danger to users;

       d.      failing to conduct appropriate, adequate, and thorough testing to evaluate the Grill
               Pro Grill Brush for the risks and danger associated with wire bristles separating
               from the brush itself during intended uses and being ingested by and causing
               serious injury to the user;

       e.      failing to make changes to the grill brush and/or its warnings, when Defendants
               knew or should have known that there was potential for wire bristles to separate
               from the brush itself during intended uses and be ingested by and cause serious
               injury to the user;

       f.      failing to warn users of the propensity for wire bristles to separate from the brush
               itself during intended uses and be ingested by and cause serious injury to the user;

       g.      negligently representing that the Grill Pro Grill Brush was safe for its intended
               uses, when, in fact, it was unsafe;


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       h.      negligently advertising and recommending the use of the Grill Pro Grill Brush
               despite the fact that Defendants knew or should have known of its dangerous
               propensity for wire bristles to separate from the brush itself during intended uses;
               and

       i.      in such other particulars as the evidence may establish.

       33.     As a result of the aforementioned events, Plaintiff Kenneth Gehrke suffered

severe and permanent injuries to his body, including severe abdominal infection, from which he

has suffered and will continue to suffer physical pain and mental anguish; and has expended and

will in the future expend monies for medical care and treatment, caused to lose the enjoyment of

life, has lost income, and sustained other damages.

       34.     By reason of and in consequence of the above-mentioned negligent, careless,

reckless, willful, and wanton conduct of the Defendants, Plaintiff suffered the injuries, losses,

and damages complained of, for which the Defendants are liable.

                                      PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays that this Court enter judgment in his favor and against

Defendants, jointly and severely, for a sum of money which will fully compensate him for all

damages alleged herein, together with interest, costs, and disbursements, and for such other relief

to which Plaintiff may by entitled.




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Dated: April 14, 2022               By: /s/Raymond J. Trueblood-Konz
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